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  January 16, 2018

  VIA ECF
  The Honorable Claire C. Cecchi, U.S.D.J.
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07101

                        Re:      D'Antonio v. Borough of Allendale, et al.
                                 Civil Action No.: 2:16-cv-816 (CCC)(JBC)

  Dear Judge Cecchi:

             This office represents the Defendant, Bergen County Sheriff's Department (“BCSD”), in

  the above-captioned matter. Kindly accept this letter in lieu of a more formal reply brief on

  behalf of the BCSD in support of its motion to dismiss Plaintiff’s Corrected Second Amended

  Complaint. (Dkt. #178)

                                          PROCEEDURAL HISTORY

             The BCSD filed its motion to dismiss Corrected Second Amended Complaint (the

  “CSAC”) on December 11, 2017 with a return date of today, January 16, 2018. Plaintiff sought

  an extension of time to file an omnibus opposition to the BCSD’s motion along opposition to

  motions by other defendants. (Dkt. #181) The Court granted Plaintiff’s request. (Dkt. #186)

  Plaintiff submitted his final version of that opposition on January 10, 2018. (Dkt. #190)
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         It is presumed the extension afforded Plaintiff included a concomitant extension of the

 return date of the motions along with an extension of the BCSD’s time to submit its reply brief.

 For the foregoing, reasons, this reply brief has been submitted in a timely fashion.

                                       LEGAL ARGUMENT

                I. THE CONCLUSORY ALLEGATIONS IN THE
                CORRECTED SECOND AMENDED COMPLAINT OF
                “ACTING IN CONCERT” FAIL TO STATE A CLAIM
                UPON WHICH RELIEF MAY BE GRANTED

         Plaintiff’s opposition generally asserts that defendants acted in concert to deny him the

 opportunity to develop the property in question which, in turn, denied unidentified minorities the

 change to purchase housing in a purported violation of their civil rights. At best, Plaintiff’s

 conclusory allegations attempt to set forth a claim under 42 U.S.C. §1985(3) which provides

 that:

                If two or more persons ... conspire ... for the purpose of depriving,
                either directly or indirectly, any person or class of persons of the
                equal protection of the laws, or of equal privileges and immunities
                under the laws ... the party so injured or deprived may have an
                action for the recovery of damages, occasioned by such injury or
                deprivation, against any one or more of the conspirators.

 42 U.S.C. §1985(3). To state a claim under 42 U.S.C. § 1985, a plaintiff must allege: (1) a

 conspiracy; (2) motivated by a racial or class-based discriminatory animus designed to deprive,

 directly or indirectly, any person or class of persons of the equal protection of the laws; (3) an act

 in furtherance of the conspiracy; and (4) an injury to person or property or the deprivation of any

 right or privilege of a citizen of the United States. See Griffin v. Breckenridge, 403 U.S. 88, 102-

 03, 91 S. Ct. 1790, 1798-99, 29 L. Ed. 2d 338, 348 (1971).

         However, in this instance, Plaintiff’s bare assertions of “acting in concert” are

 conclusions that, “much like the pleading of a conspiracy in Twombly, amount[] to nothing more




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 than a ‘formulaic recitation of the elements’” of a civil conspiracy claim” which are insufficient

 to survive the instant motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 681, 129 S. Ct. 1937,

 1951, 173 L.Ed.2d 868, 885 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555,

 127 S. Ct. 1955, 1965, 167 L.Ed.2d 929, 940 (2007)). Plaintiff’s bare assertions fail to meet the

 standard required to overcome the BCSD’s motion to dismiss. The allegations of conspiracy (or

 “acting in concert”) have not been sufficiently established so as to state a claim for which relief

 may be granted. For that reason, the CSAC must be dismissed.

                  II. PLAINTIFF’S ALLEGATIONS AGAINST THE BCSD
                  FAIL TO MEET THE MONELL STANDARD FOR §1983
                  CLAIMS AGAINST PUBLIC OFFICIALS

           Plaintiff has failed to assert any substantive opposition to any of legal arguments asserted

 by the BCSC relying instead on a re-recitation of the basic facts of the CSAC. Plaintiff has

 failed to demonstrate how the CSAC’s allegations against the BCSD meet the standard

 established in Monell v. Dep't of Soc. Servs., 436 U.S. 658, 98 S. Ct. 2018, 56 L.Ed.2d 611

 (1978).

           The CSAC does not allege that the BCSD implemented or executed “a policy statement,

 ordinance, regulation, or decision officially adopted and promulgated [its] officers” (Monell,

 436 U.S. at 690, 98 S. Ct. at 2036, 56 L.Ed.2d at 635) to deny Plaintiff his civil rights.     In the

 absence of such an allegation, the CSAC fails to state a claim for entity liability under 42 U.S.C.

 § 1983 as to the BCSD and therefore should be dismissed.

                  III. PLAINTIFF'S COMPLAINT SHOULD BE DISMISSED
                  PURSUANT THE NEW JERSEY ENTIRE CONTROVERSY
                  DOCTRINE

           Plaintiff has not offered any opposition to the BCSD’s assertion that his claims against

 the BCSD are also barred by New Jersey’s entire controversy doctrine which “requires




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 adversaries to join all possible claims stemming from an event or series of events in one suit.”

 Paramount Aviation Corp. v. Agusta, 178 F.3d 132, 135 (3d Cir. 1999); In re Mullarkey, 536

 F.3d 215, 229 (3d Cir. 2008). Plaintiff has fully and fairly litigated his claims against the BCSD

 in the action entitled D'Antonio v. Retained Realty, et al., Superior Court of New Jersey, Law

 Division, Bergen County, Docket No. BER-L-4562-15 and is currently appealing the dismissal

 with prejudice of his claims in that action. (D’Antonio v. Retained Realty, Superior Court of

 New Jersey, Appellate Division, Docket No. A-11-17T4).          The entire controversy doctrine

 precludes him from bring his claims against the BCSD in this action.

                                         CONCLUSION

        For the foregoing reasons, the BCSD’s motion to dismiss the CSAC should be granted.

                                                             Respectfully submitted,

                                                             s/Leonard E. Seaman
                                                             LEONARD SEAMAN
 LES:me

 Cc:    All counsel (via ECF)
        Client (via e-mail)




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